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     ATTORNEYS FOR THE DEBTOR
 5
                                UNITED STATES BANKRUPTCY COURT
 6
                                        DISTRICT OF ARIZONA
 7
 8 In re:                                               Chapter 11

 9 NUTRACEA, a California corporation,                  2:09-bk-28817-CGC

10                                 Debtor.              DEBTOR’S MOTION FOR
                                                        AUTHORITY TO (1) SELL ASSETS
11                                                      AND ASSIGN PURCHASE ORDERS
                                                        ASSOCIATED WITH INFANT CEREAL
12                                                      BUSINESS FREE AND CLEAR OF
                                                        LIENS (2) ENTER INTO TOLL
13                                                      PROCESSING AGREEMENT AND (3)
                                                        PAY FINDER’S FEE
14
                                                        Hearing Date: TBD
15                                                      Hearing Time: TBD
                                                        Hearing Room: 601
16
17
            Pursuant to 11 U.S.C. §§ 363 and 503(b)(1)(A), Bankruptcy Rules 2002 and 6004 and
18
     Local Bankruptcy Rule 6004-1, Debtor moves the court for the entry of an order authorizing and
19 approving: (1) the sale of certain assets used in its infant cereal business and the assignment of
20 related postpetition purchase orders free and clear of all liens, claims, and interests, to Kerry,
21 Inc., a Delaware corporation (“Buyer”), for the cash purchase price of $3,900,000, plus an
22 additional amount to be paid for inventory as determined prior to closing; (2) entry into a Toll
23 Processing Agreement with Buyer pursuant to which Debtor will produce infant cereal products
     for Buyer in accordance with Buyer’s specifications; and, (3) payment of a finder’s fee of
24
     $200,000 to Drum Drying Resources, LLC (“DDR”), all pursuant to the terms and conditions of
25
 1   the Asset Purchase Agreement dated February 11, 2010 between the Debtor and Buyer (the

 2   “Agreement”), a copy of which is attached hereto as Exhibit “A”. Capitalized terms used herein
     but not defined are intended to have the same meaning as in the Agreement. The Purchased
 3
     Assets and Assigned Contracts are more fully described in Section 2.1 of the Agreement and
 4
     Schedules 2.1(a), (c) and (f) thereto. This motion is more fully set forth and supported in the
 5
     accompanying Memorandum of Points and Authorities.
 6
                           MEMORANDUM OF POINTS AND AUTHORITIES
 7
            Background.
 8
            1.      Debtor is a publicly traded health-science company that develops and distributes
 9
     stabilized rice bran and proprietary rice bran formulations.            Its products include food
10
     supplements and medical foods for humans and animals based on stabilized rice bran, rice bran
11
     derivatives, and rice bran oils.
12
            2.      On November 10, 2009, Debtor filed its voluntary petition for relief under
13
     Chapter 11 of the Bankruptcy Code. Pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, it
14
     is managing its assets and properties as debtor-in-possession.
15
            3.      An official committee of unsecured creditors was appointed on November 19,
16
     2009, and retained Jennings, Strouss & Salmon, P.L.C. as counsel.
17
            Debtor’s Infant Cereal Business.
18
            4.      Debtor grossed approximately $2.2 million dollars from the manufacture and sale
19
     of infant cereal products in 2009, and has projected its sales in 2010 at approximately $5 million.
20
     However, its net profit margins are relatively small and it has, historically, operated at or near the
21
     break-even level. In addition, Debtor faces competition from much larger and better funded
22
     competitors.
23
            5.      The infant cereal business is not part of Debtor’s core business, which involves
24
     the manufacturing, development, and marketing of a variety of products using stabilized rice bran
25



                                                 -2-
 1   and rice bran formulations. The infant cereal business does not involve the use of Debtor’s

 2   proprietary technology, patents or trade secrets.

 3          6.        Debtor’s manufacturing facility in Phoenix, Arizona was constructed for the

 4   production of infant cereal products. It is currently idle, and Debtor is producing all of its infant

 5   cereal products at its facility in Dillon, Montana. The real property and improvements associated

 6   with the Phoenix facility are owned by Debtor’s wholly-owned subsidiary, NutraPhoenix, L.L.C.,

 7   but the equipment, machinery and other assets that are the subject of this motion are owned by

 8   Debtor.

 9          Identification and Marketing of Non-Core Assets.

10          7.        As part of its efforts to stabilize its operations and satisfy its cash flow

11   requirements, Debtor identified certain non-core assets that should be sold or monetized early in

12   this bankruptcy case. Among these non-core assets are: (i) the infant cereal business; (ii) the

13   equipment, machinery and related assets intended for use in that business, which are located

14   primarily at its Phoenix, Arizona facility; (iii) the infant cereal inventory located at its Dillon,

15   Montana facility; (iv) certain related customer and supplier lists; and, (v) a limited amount of

16   intellectual property, all as more fully described in Sections 2.1 and 2.2 of the APA (collectively

17   the “Assets”).

18          8.        Because of the need to monetize non-core assets early in the case, in order to meet

19   its budgeted cash requirements, Debtor aggressively pursued a potential sale of its Assets by,

20   among other things, using its contacts in the industry to identify others in the infant cereal

21   business that might have an interest in purchasing the Assets. Debtor initiated discussions with

22   those identified as possible purchasers, including a Chicago-based private equity firm, a large

23   publically traded European food company, a large privately owned Chinese food company, a

24   large publically traded Chinese food company and a mid-sized U.S. food company. Out of this

25   extensive marketing effort, only Buyer has stepped to the forefront and delivered a signed



                                                 -3-
 1   stalking horse bid to Debtor in the form of the Agreement. It is that stalking horse bid by Buyer

 2   that, subject to the terms of the Agreement and entry of the Bid Procedures Order as required

 3   therein, including, inter alia, approval of the Due Diligence Expense Reimbursement, will enable

 4   a competitive bidding process to take place that will maximize the value of the Debtor’s Assets.

 5          9.      Debtor believes that it is essential to complete the sale to Buyer, or to a higher and

 6   better bidder, within the time frame set forth in the APA, which calls for a closing by no later

 7   than March 15, 2010. The cash flow projections prepared by Debtor’s financial advisors, and the

 8   weekly cash projections prepared for the DIP financer and shared with the Committee, indicate

 9   that a significant sale or other asset monetization is needed within that time frame in order to

10   meet Debtor’s budgeted cash requirements. The sale transaction proposed herein maximizes the

11   value of the Debtor’s Assets, preserves its ability to continue to operate its core businesses and

12   will facilitate and promote an effective reorganization of Debtor for the benefit of its creditors,

13   customers and employees.

14          The Purchase Contract.

15          10.     On or about February 11, 2010, Debtor and Buyer entered into the Agreement,

16   which calls for the sale of the Purchased Assets and the assignment of the Assigned Contracts for

17   the cash purchase price of $3,900,000. An earnest money deposit of $250,000 will be paid into

18   escrow upon entry of a bidding procedures order and the balance will be paid at the close of

19   escrow.

20          11.     In addition to the cash purchase price of $3,900,000, Buyer will pay an as-yet-to-

21   be-determined amount for all infant cereal inventory on hand as of the close of escrow.

22   Inventory will be valued at cost, and the addition to the purchase price will be determined by a

23   physical inventory to be conducted approximately four days before the close of escrow. Based

24   upon its ordinary inventory levels (and subject in all respects to the applicable terms of the

25



                                                -4-
 1   Agreement), Debtor estimates the additional amount to be paid for inventory at approximately

 2   $200,000.

 3          12.     The Assigned Contracts include all purchase orders relating to Debtor’s infant

 4   cereal business in existence at Closing, with two exceptions set forth in the Agreement. As part

 5   of the Agreement, Buyer has agreed to timely perform all obligations arising under the Assigned

 6   Contracts from and after the Closing.          The face amount of the Assigned Contracts is

 7   $213,347.77, but is subject to change prior to the close of escrow. The Assigned Contracts were

 8   generated after the bankruptcy filing and, therefore, are not executory contracts within the

 9   meaning of 11 U.S.C. § 365. In re Dant & Russell, Inc., 853 F.2d 700, 706 (9th Cir.1988).

10   Nothing in either the Assigned Contracts or under applicable bankruptcy or non-bankruptcy law

11   precludes, limits or otherwise prevents Debtor from transferring and assigning the Assigned

12   Contracts to Buyer as provided in the Agreement.

13          13.     The Purchased Assets are to be sold and the Assigned Contracts assigned to Buyer

14   free and clear of all liens, claims and interests, pursuant to 11 U.S.C. § 363(b)(1) and (f).

15          14.     The sale of the Purchased Assets and assignment of the Assigned Contracts is

16   subject to higher and better offers in accordance with and subject to the Bid Procedures approved

17   by the Court pursuant to its entry of a Bid Procedures Order as required by the applicable

18   provisions of the Agreement.

19          The Toll Processing Agreement.

20          15.     Because it will take months for Buyer to move the purchased machinery and

21   equipment, install them in its own facility, and make them operational, Debtor has agreed to

22   produce infant cereal for Buyer in accordance with the terms of the Toll Processing Agreement, a

23   copy of which is attached to the Agreement as Exhibit “B”. Subject in all respects to the actual

24   terms of the Toll Processing Agreement and any applicable provisions of the Agreement: (a) the

25   infant cereal will be produced from raw material provided by Buyer, according to Buyer’s



                                                 -5-
 1   specifications, and Debtor will neither own nor sell it; (b) this arrangement will terminate when

 2   Buyer’s new facility becomes operational or on October 31, 2010, whichever is earlier; and (c)

 3   Debtor will be paid $.40 per pound for its services. Debtor estimates that this will produce net

 4   revenue of approximately $800,000.

 5           Liens Against the Assets and Assigned Contracts.

 6           16.    The Assets and Assigned Contracts are subject to a senior security interest in

 7   favor of Wells Fargo Bank, N.A., acting through its Business Credit operating division (“Wells

 8   Fargo”). The security interest secures all of Debtor’s obligations under its DIP Credit Facility,

 9   in the maximum principal amount of $6.75 million. The amount presently owing on the DIP

10   Credit Facility is approximately $4.5 million.

11           17.    There are no other known liens against the Assets or Assigned Contracts.

12   However, eight subcontractors and materialmen have sued NutraPhoenix in the Superior Court of

13   Arizona, Maricopa County, Cause No. CV 2009-013957, to foreclose mechanics’ and

14   materialmen’s liens relating to the construction of the Phoenix facility and the installation of the

15   machinery and equipment. To the extent that any of the mechanics and materialmen’s lien

16   claimants assert that the liens attach to Debtor’s personal property, each of them are the subject

17   of bona fide dispute (the “Disputed Liens”). While the lienholders are entitled to receive notice

18   of this Motion, the Debtor is entitled to sell, transfer and convey the Purchased Assets to Buyer

19   free and clear of the Disputed Liens pursuant to Sections 363(f)(4) and (5) of the Bankruptcy

20   Code.

21           Consent by Wells Fargo.

22           Wells Fargo has consented to the sale of the Assets and the assignment of the Assigned

23   Contracts and has agreed that it will release its security interest in those items in return for its

24   receipt of approximately $1,430,000 from the sale proceeds received by the Debtor at Closing.

25   That amount will be applied against the DIP term loan facility. Upon closing, the balance owing



                                                -6-
 1   under the DIP revolving credit facility (approximately $1 million) will be paid off, but the

 2   amount paid, minus approximately $100,000 to reflect a reduction in borrowing base, will then

 3   be immediately available to Debtor under the DIP revolving credit facility. The balance of such

 4   sale proceeds (less payment of a finders fee of up to $200,000 to DDR, and any amounts ordered

 5   sequestered on account of Disputed Liens and any amounts to be paid or credited to Buyer under

 6   the terms the Agreement) may be used by the Debtor for its present and future cash needs

 7   although, under the terms of the DIP Credit Facility, Wells Fargo will retain its lien in the sale

 8   proceeds. Bona Fides of Purchaser

 9          18.     As discussed in more detail below, Debtor was introduced to Buyer by an

10   unrelated third party, DDR, in early November of 2009, near the time that this case was filed.

11   Debtor and Buyer had no previous contact concerning the Purchased Assets.

12          19.     After the introduction, Debtor provided Buyer with information concerning the

13   Purchased Assets, discussed the structure of a proposed sale, and exchanged purchase offers and

14   counteroffers. Beginning in late December, Debtor and Buyer began exchanging drafts of the

15   Agreement and related documents.

16          20.     Throughout the process of negotiating the Agreement and related Toll Processing

17   Agreement, Debtor and Buyer were represented by their own counsel. All negotiations were at

18   arms length, without collusion.

19          21.     To the best of Debtor’s knowledge, information and belief: (a) Buyer is not an

20   insider of Debtor; (b) Buyer is not related to the Debtor in any way; (c) Buyer has no connection

21   with any of Debtor’s officers or directors; (d) the proposed sale is an arms-length transaction;

22   and, (e) no fraud, collusion or improper relationship exists between Debtor and Buyer.

23          22.     Based upon the foregoing, Debtor requests that the Court find that Buyer is a

24   “good faith” purchaser within the meaning of Bankruptcy Code § 363(m) and is entitled to the

25   protections of § 363(m) of the Code.



                                               -7-
 1          August 2009 Appraisal.

 2          23.     The machinery and equipment located in Debtor’s Phoenix, Arizona facility were

 3   appraised on September 10, 2009, by Don Tyson, senior appraiser for Rabin Worldwide. The

 4   appraisal was prepared for Wells Fargo. Mr. Tyson placed the forced liquidation value of the

 5   machinery and equipment at $916,250 and the orderly liquidation value at $1,267,650.

 6          Manner, Method and Extent of Noticing.

 7          24.     As required by Rule 6004, Federal Rules of Bankruptcy Procedure and Rule 6004-

 8   1, Local Rules of Bankruptcy Procedure, within one (1) business day of entry of the Bid

 9   Procedures Order, Debtor will provide notice by first class mail of the proposed sale and

10   assignment of the Purchased Assets, the opportunity to make higher and better offers, and the

11   bidding procedures to: (a) all those on the Master Mailing List; (b) all additional parties on the

12   Official Notice Service List; (c) all parties known or believed by Debtor to have an interest in the

13   Purchased Assets; (d) all parties asserting liens, claims or interests in the Purchased Assets and

14   their counsel, if known; and, (e) all parties to the Assigned Contracts. In addition, Debtor will

15   work with the Committee to identify any others who should be notified of the proposed sale and

16   the method of providing such notice. The Debtor submits that such notice is good and sufficient

17   under the circumstances, complies in full with all notice requirements arising under the

18   Bankruptcy Rules and applicable authority and that no other or further notice is necessary to

19   obtain the relief requested by this motion.

20          Approval of the Sale is Warranted.

21          25.     The Debtor's decision to sell the Purchased Assets is governed by the business

22   judgment test. Institutional Creditors of Continental Air Lines, Inc. v. Continental Air Lines,

23   Inc., (In re Continental Air Lines, Inc.), 780 F.2d 1233, 1226 (5th Cir. 1986); In re Lionel Corp.,

24   722 F.2d 1063 (2nd Cir. 1983); Stephens Industries, Inc. v. McClung, 789 F.2d 386, 391 (6th Cir.

25   1986). Under the business judgment test, the sale should be approved if it will benefit the estate.



                                                   -8-
 1   Robertson v. Pierce (In re Chi-feng Huang), 23 B.R. 798, 801 (Bankr. 9th Cir. 1982). The

 2   Debtor's business judgment should be accepted unless the evidence shows that it is "clearly

 3   erroneous, too speculative, or contrary to the provisions of the Bankruptcy Code."         Allied

 4   Technology, Inc. v. R.B. Brunemann & Sons (In re Allied Technology, Inc.), 25 B.R. 484, 495

 5   (Bankr. S.D. Ohio 1982).

 6          26.      Here, Debtor believes that the consideration Buyer is proposing to pay under the

 7   Agreement is the highest attainable under the circumstances. The sale will yield proceeds

 8   sufficient to reduce the secured debt to Wells Fargo by $1.5 million, or approximately 34%, and

 9   leave Debtor with approximately $2.2 million to meet its critical cash needs. It will also satisfy

10   the Debtor’s budgeted goal for asset sale proceeds, as set forth in the attachment to the DIP

11   Financing Order, through May of 2010, thus making a default under the DIP Credit Facility

12   extremely unlikely. In addition, Debtor has been advised that its Phoenix facility will be more

13   readily marketable after the specialized machinery and equipment is removed, and the Debtor is

14   in the process of listing that property at $6.9 million.

15          Approval of the Assignment of the Purchase Orders is Warranted.

16          27.      The Purchase Orders to be assigned to Buyer under the terms of the Agreement

17   (i.e., the Assigned Contracts) are not executory contracts within the meaning of 11 U.S.C. § 365,

18   because they were entered into postpetition. In re Dant & Russell, Inc., 853 F.2d 700, 706 (9th

19   Cir.1988). Accordingly, their assignment to purchaser is a use, sale or lease of estate property

20   outside the ordinary course of business and should be approved under 11 U.S.C. § 363(b) for all

21   the reasons set forth above.

22          Approval of the Toll Processing Agreement is Warranted.

23          28.      Debtor seeks approval of the Toll Processing Agreement out of an abundance of

24   caution.     The agreement is arguably within the ordinary course of Debtor’s business and,

25   therefore, requires no approval. To the extent that approval is required, it should be granted.



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 1   The Toll Processing Agreement is a necessary part of the overall sale of the Purchased Assets

 2   and other transactions contemplated by the Agreement, which will provide Debtor with much

 3   needed cash, significantly reduce its secured postpetition indebtedness to Wells Fargo, monetize

 4   a non-core asset and eliminate the overhead associated with it. In addition, Debtor estimates that

 5   the Toll Processing Agreement will produce net revenue of approximately $800,000 over the

 6   seven months after the anticipated closing. For that reason, Debtor believes the overall value to

 7   the Debtor and its estate of the proposed transaction with Buyer is significantly higher than just

 8   Purchase Price to be paid by Buyer under the terms of the Agreement.

 9          Approval of the Finder’s Fee is Warranted.

10          29.     Debtor entered into a prepetition finder’s fee agreement with DDR, pursuant to

11   which it agreed to pay DDR up to $450,000, provided that one or more of the specified

12   transactions was consummated. The sale to Kerry is a hybrid and does not fall neatly within the

13   list of specified transactions. Accordingly, in late December the parties renegotiated the finder’s

14   fee and Debtor agreed to pay DDR $200,000 upon the close of the sale to Buyer.

15          30.     For reasons similar to those justifying the allowance and, if applicable, payment

16   of the Due Diligence Expense Reimbursement to Buyer as an administrative expense of the

17   Debtor’s estate as provided in the Bid Procedures Order and terms of the Agreement, the Debtor

18   believes that DDR is entitled to payment of its finder’s fee at the close of escrow pursuant to 11

19   U.S.C. § 503(b)(1)(A), as a necessary cost of preserving the estate. In re Foundation Group

20   Systems, Inc., 141 B.R. 196 (Bankr. E. D. Cal. 1992)(payment of finder’s fee appropriate as

21   necessary cost of preserving the estate). Further, because a “finder” is not a professional within

22   the meaning of 11 U.S.C. § 327, Debtor was not required to obtain pre-approval of DDR’s

23   employment. Id.; In re Corporate Image, Inc., 1995 WL 42451 (Bankr. D. Idaho, 1995).

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                                               - 10 -
 1          WHEREFORE, Debtor requests that the court enter its order:

 2          (a)     Granting the Motion and authorizing and approving the sale of the Purchased

 3   Assets and the assignment of the Assigned Contracts to Buyer, pursuant to 11 U.S.C. §§ 363(b),

 4   (f) and (m), in accordance with the terms of the Agreement, for the cash purchase price of

 5   $3,900,000.00, together with the additional amount to be paid for the inventory, and authorizing

 6   Debtor to execute, deliver and perform all acts necessary to consummate the transactions

 7   contemplated by the Agreement;

 8          (b)     Ordering that, pursuant to 11 U.S.C. §§ 363(b), (f) and (m), the Purchased Assets

 9   are to be sold and the Assigned Contracts assigned to Buyer free and clear of all pledges, liens,

10   security interests, encumbrances, claims (as claim is defined in Section 101(5) of the Bankruptcy

11   Code), charges, options, and interests on and/or against the Purchased Assets and Assigned

12   Contracts, including, without limitation, the liens, claims and interests described above;

13          (c)     Ordering that, except as expressly provided in the Agreement, neither Buyer nor

14   any of the Purchased Assets or Assigned Contracts shall have any obligation or liability for any

15   of the indebtedness, liabilities or other obligations of Debtor (including based on successor

16   liability or similar theory) or be subject to any tax liability of Debtor except for transfer tax

17   liability that may be incurred as a result of the transfer of the Purchased Assets and/or Assigned

18   Contracts to Buyer;

19          (d)     Finding that Buyer is a good faith purchaser within the meaning of 11 U.S.C. §

20   363(m) and is entitled to the protections afforded good faith purchasers by § 363(m);

21          (e)     Authorizing Debtor to enter into the Toll Processing Agreement and perform

22   thereunder pursuant to 11 U.S.C. § 363(b);

23          (f)     Approving the payment of the finder’s fee to DDR in the amount of $200,000,

24   pursuant to 11 U.S.C. §503(b)(1)(A);

25          (g)     Waiving the ten-day stay provided by Bankruptcy Rule 6004(h) and,



                                               - 11 -
 1          (h)    Providing such other or further relief as may be necessary to facilitate a prompt

 2   Closing and consummation of the other transactions provided under the Agreement.

 3                 DATED this 11th day of February, 2010.
 4                                                FORRESTER & WORTH, PLLC
 5
 6                                                SCF (006342)
                                                  S. Cary Forrester
 7                                                Attorneys for the Debtor
 8
 9
     Copy mailed on the 12th day of February
10   and/or emailed this 11th day of February,
     2010 to all those on the
11   service list attached hereto:
12
     /s/ Carrie A. Lawrence
13   Carrie A. Lawrence

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20
21
22
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25



                                                 - 12 -
Label Matrix for local noticing      AICCO, Inc.                                  AVAZ, Inc. d/b/a Audio Video Resources
0970-2                               c/o Thomas G. Luikens                        c/o Christopher Stovall
Case 2:09-bk-28817-CGC               Ayers & Brown, P.C.                          Jennings, Haug & Cunningham, LLP
District of Arizona                  4227 N. 32nd Street, 1st Fl.                 2800 N. Central Ave., Ste. 1800
Phoenix                              Phoenix, AZ 85018-4758                       Phoenix, AZ 85004-1049
Thu Feb 11 14:23:19 MST 2010
Argo Partners                        Debt Acquisition Company of America V, LLC   Fair Harbor Capital, LLC
12 W 37th Street, 9th Floor          1565 Hotel Circle South, Suite 310           Ansonia Finance Station
New York, NY 10018-7480              San Diego, CA 92108-3419                     PO Box 237037
                                                                                  New York, NY 10023-0028


Farmers Rice Milling Company, Inc.   Mansfield Warehousing & Distribution, Inc.   Nutracea, a California corporation
P.O. Box 788                         c/o Trainor Fairbrook                        6720 N. SCOTTSDALE RD #390
Baton Rouge, LA 70821-0788           980 Fulton Avenue                            SCOTTSDALE, AZ 85253-4421
                                     Sacramento, CA 95825


Primeshares                          Unsecured Creditors Committee                W.D. Manor Mechancial Contractors
261 Fifth Ave.                       c/o Carolyn J. Johnsen, Esq.                 c/o Todd B. Tuggle, Esq.
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New York, NY 10016                   201 E. Washington St., 11th Floor            201 E. Washington St., 11th Floor
                                     Phoenix, AZ 85004-0612                       Phoenix, AZ 85004-0612

WELLS FARGO BANK, N.A.               U.S. Bankruptcy Court, Arizona               1ST NATIONAL BANK OF ARIZONA
C/O GALLAGHER & KENNEDY, PA          230 North First Avenue, Suite 101            17600 N. PERIMITER DRIVE
ATTN: JOHN R. CLEMENCY               Phoenix, AZ 85003-0608                       SCOTTSDALE, AZ 85255-5440
2575 E. CAMELBACK ROAD
SUITE 1100
PHOENIX, AZ 85016-9254
3M                                   A-BEST SECURITY LOCK & SAFE                  AARON THOMAS
2807 PAYSPHERE CIR                   2627 NORTHERN AVENUE                         7421 CHAPMAN AVENUE
CHICAGO, IL 60674-0028               PHOENIX, AZ 85051-4850                       GARDEN GROVE, CA 92841-2115



AB STEEL, LLC                        ACC INTERNATIONAL                            ACCTG. & FINANCE PERSONNEL INC
6235 HWY 90 EAST                     ANNUAL MEETING REGISTRATION                  1702 E. HIGHLAND
LAKE CHARLES, LA 70615-4708          3340 PILOT KNOB ROAD                         SUITE 200
                                     SAINT PAUL, MN 55121-2055                    PHOENIX, AZ 85016-4665


ACE HARDWARE - DILLON                ADELMAN PR INC.                              ADM RICE, INC.
302 N. MT                            6412 DORSAY COURT                            660 WHITE PLAINS ROAD
PO BOX 871                           ATTN: MARGIE ADELMAN                         SUITE 605
DILLON, MT 59725-0871                DELRAY BEACH, FL 33484-6305                  TARRYTOWN, NY 10591-5164


ADT SECURITY SERVICES INC.           ADT SECURITY SERVICES, INC.                  AETNA
14200 E EXPOSITION AVENUE            P.O. BOX 371956                              P.O. BOX 88860
AURORA, CO 80012-2540                PITTSBURGH, PA 15250-7956                    CHICAGO, IL 60695-1860



AICCO                                AIRDYNE                                      AKERMAN SENTERFITT
AIC IMPERIAL A.I. CREDIT CO.         PO BOX 4768                                  P.O. BOX 4906
DEPARTMENT 7615                      HOUSTON, TX 77210-4768                       ORLANDO, FL 32802-4906
LOS ANGELES, CA 90084-0001
ALBERTO BRUNELLI                     ALFA LAVAL, INC.                         ALLIANCE TRAFFIC GROUP
TOMAZ GONZAGA                        PO BOX 851565                            P.O. BOX 13978
900-302 PORTO ALEGRE                 DALLAS, TX 75395-0001                    SACRAMENTO, CA 95853-3978
Cep: 91.340-480
RS BRAZIL

ALLIED WASTE SERVICE # 753           ALPINE WATER SYSTEMS                     ALSCO-GEYER ACE HARDWARE
PO BOX 78829                         P.O. BOX 94436                           P.O. BOX 111
PHOENIX, AZ 85062-8829               LAS VEGAS, NV 89193-4436                 600 5TH STREET
                                                                              ARBUCKLE, CA 95912-0111


AMERICAN EXPRESS                     AMP ELECTRIC & LANDSCAPE                 ANN FERRIN-INT. OASIS, LLC
P.O. BOX 360001                      P.O. BOX 5807                            INTERIOR OASIS
FORT LAUDERDALE, FL 33336-0001       LAKE CHARLES, LA 70606-5807              1018 W. INDIANOLA AVENUE
                                                                              PHOENIX, AZ 85013-3341


ARKANSAS STATE PLANT BOARD           ARMENTOR SERVICES,INC                    AT&T
PO BOX 1069                          5841 SOHIO RD                            PAYMENT CENTER
LITTLE ROCK,                         IOWA, LA 70647-5304                      SACRAMENTO, CA 95887-0001
LITTLE ROCK, AR 72203-1069


AT&T -                               AT&T LONG DISTANCE                       AT&T MOBILITY
PO BOX 105262                        PO BOX 5019                              PO BOX 6463
ATLANTA, GA 30348-5262               CAROL STREAM, IL 60197-5019              CAROL STREAM, IL 60197-6463



ATLAS VAN LINES, INC.                ATRINSIC, INC                            AUDIO VIDEO REOURCES, INC
1212 ST. GEORGE RD.,                 PO BOX 10434                             4323 E COTTON CENTER BLVD
P.O. BOX 509                         UNIONDALE, NY 11555-0434                 PHOENIX, AZ 85040-8853
EVANSVILLE, IN 47711


AUSTRADE, INC                        AVAZ, Inc. d/b/a Audio Video Resources   AZ CENTER FOR THE BLIND
3309 NORTHLAKE BLVD #201             c/o Chad L. Schexnayder                  & VISUALLY IMPAIRED, INC.
WEST PALM BEACH, FL 33403-1705       Christopher Stovall                      3209 S. 36TH ST
                                     Jennings, Haug & Cunningham, LLP         PHOENIX, AZ 85040-1605
                                     2800 N. Central Ave., Ste. 1800
                                     Phoenix, AZ 85004-1049
AZ DEPARTMENT OF REVENUE BNK & LIT   AZ PACIFIC PULP AND PAPER                Argo Partners
1600 W. MONROE 7TH FLOOR             3209 S. 36TH STREET                      12 West 37th Street, 9th Floor
PHOENIX, AZ 85007-2650               PHOENIX, AZ 85040-1605                   New York, NY 10018-7480



BACTOLAC PHARMACEUTICAL INC          BARRETT HOSPITAL & HEALTHCARE            BEAVERHEAD HOME CENTER
7 OSER AVE                           90 HIGHWAY 91 SOUTH                      915 NORTH MONTANA ST
HAUPPAGE NY 11788-3811               DILLON, MT 59725-3516                    DILLON, MT 59725-8417



BEMIS COMPANY, INC.                  BEST WESTERN RICHMOND                    BEUS GILBERT
P.O. BOX 100915                      SUITES HOTEL                             4800 NORTH SCOTTSDALE RD.
PASADENA, CA 91189-0003              2600 MOELING STREET                      SUITE 6000
                                     LAKE CHARLES, LA 70615-2055              SCOTTSDALE, AZ 85251-7642
BIO-CAT, INC - FOO0898           BIOCONTROL SYSTEM, INC              BLANCHARD, WALKER, O’QUIN & ROBERTS
9117 THREE NOTCH RD              12822 SE 32ND ST                    ATTN: W MICHAEL ADAMS
TROY, VA 22974-2809              BELLEVUE, WA 98005-4340             PO DRAWER 1126
                                                                     SHREVEPORT, LA 71163


BOND ALARM. CO., INC             BRAMMER MACHINE SHOP, INC.          BROADRIDGE
4040 EAST CAMELBACK #250         153 CHEROKEE ROAD                   PO BOX 23487
PHOENIX, AZ 85018-8350           PLOL BOX 1545                       NEWARK, NJ 07189-0487
                                 CROWLEY, LA 70526


BROWN & THOMSON OIL              BRYCON, INC                         BUBBA MORGAN TRUCKING, LLC
PO BOX 47                        6150 W. CHANDLER BLVD               P.O. BOX 1324
DILLON, MT 59725-0047            SUITE #39                           CROWLEY, LA 70527-1324
                                 CHANDLER, AZ 85226-3463


BUSINESS ADVERTISING             BUSINESS ADVERTISING                BellSouth Telecommunications, Inc
LOADING ONLINE BUSINESS SOLUTI   LOADING ONLINE BUSINESS SOLUTIONS   % JAMES GRUDUS, ESQ.
20533 BISCAYNE BLVD              20533 BISCAYNE BLVD                  AT&T SERVICES, INC.
AVENTURA, FL 33180-1529          AVENTURA, FL 33180-1529              ONE AT&T WAY, ROOM 3A218
                                                                      BEDMINSTER, N.J 07921-2694

CABLE ONE                        CALCASIEU PARISH SCHOOL SYSTEM      CALCASIEU PARISH WATER DIST.
P.O. BOX 78407                   PO DRAWER 2050                      PO BOX 16596
PHOENIX, AZ 85062-8407           2439 6TH STREET                     LAKE CHARLES, LA 70616-6596
                                 LAKE CHARLES, LA 70601-4819


CALCASIEU PARISH WATER WORK      CALIBER ADVISORS                    CALIFORNIA DEPT OF FOOD
ED COBB                          1661 E. CAMELBACK RD.               AND CASHIER FLD
PO BOX 16596                     SUITE 201                           DEPT OF FOOD & AGRICULTURE
LAKE CHARLES, LA 70616-6596      PHOENIX, AZ 85016-3913              SACRAMENTO, CA 94271


CAPITAL CORRUGATED               CAPITAL MACHINE CORP.               CARDINAL PEST MANAGEMENT
CUSTOMIZED PACKAGING SOLUTION    83 NORTH 17TH STREET                57 MATMOR ROAD
PO BOX 278060                    SACRAMENTO, CA 95811-0694           WOODLAND, CA 95776-6008
SACRAMENTO, CA 95827


CARDINAL PROFESSIONAL PRODUCTS   CAREERBUILBER LLC.                  CARLSON LOGISTICS, INC
2641 W. WOODLAND DRIVE           13047 CALLECTION CENTER DRIVE       859 F STREET, SUITE 110
ANAHEIM, CA 92801-2628           CHICAGO, IL 60693-0130              WEST SACRAMENTO, CA 95605-2373



CARMI FLAVOR & FRAGRANCE CO.     CENTRAL STATES DISTR SERV INC       CERTIFIED FOODS, INC
6030 SCOTT WAY                   3401 LYNCH CREEK DR                 41970 EAST MAIN STREET
COMMERCE, CA 90040-3516          DANVILLE, IL 61834-9388             WOODLAND, CA 95776-9508



CH ROBINSON WORLDWIDE, INC.      CH ROBINSON WORLDWIDE, INC.         CHROMATIC LABELS
14701 CHARLSON ROAD              P.O. BOX 9121                       16782 VON KARMAN AVE
EDEN PRAIRIE, MN 55347-5076      MINNEAPOLIS, MN 55480-9121          BUILDING 33
                                                                     IRVINE, CA 92606-9928
CINTAS FIRST AID & SAFETY        CITY OF BURLEY                   CITY OF PHOENIX
P.O. BOX 1472                    P.O. BOX 1090                    PO BOX 29663
LAKE CHARLES, LA 70602-1472      BURLEY, ID 83318-0948            PHOENIX, AZ 85038-9663



CLARK PEST CONTROL, INC          CLASSIC WINE & VINEGAR CO, INC   CLAYTON INDUSTRIES
ACCOUNTING OFFICE                4110 BREW MASTER DRIVE           DEPT #2636
P.O. BOX 1480                    CERES, CA 95307-7583             LOS ANGELES, CA 90084-0001
LODI, CA 95241-1480


CLIMATE CONTROL, INC             COGNIS CORPORATION               COLUMBIA RIVER CARBONATES
4219 S. MARKET CT. SUITE C       P.O. BOX 802568                  P.O. BOX 2350
SACRAMENTO, CA 95834-1213        CHICAGO, IL 60680-2568           WOODLAND, WA 98674-0023



COMPTROLLER OF PUBLIC ACCOUNTS   CON-WAY TRANSPORTATION           CONEXIS
PO BOX 149348                    SERVICES, INC.                   P.O. BOX 224547
AUSTIN, TX 78714-9348            P.O. BOX 7419                    DALLAS, TX 75222-4547
                                 PASADENA, CA 91109


CONSTRUCTIONE 1 LLC              CONSTRUCTIONE 1, LLC.            COVANCE LABS
11811 N TATUM BLVD #3031         1811 N. TATUM BLVD.,             PO BOX 820511
PHOENIX AZ 85028-1621            SUITE 3057                       PHILADELPHIA, PA 19182-0511
                                 PHOENIX, AZ 85028


CT CORPORATION SYSTEM            CURRAN & CONNORS, INC.           D C RENTAL, LLC
P.O. BOX 4349                    140 ADAMS AVENUE                 2554 HWY 91 N
CAROL STREAM, IL 60197-4349      SUITE 20C                        DILLON, MT 59725
                                 HAUPPAGE, NY 11788-3618


D&B                              DAHL WHOLESALE                   DANIEL BECKETT
P.O. BOX 75434                   PO BOX 384                       9155 W. QUAIL AVE.
CHICAGO, IL 60675-5434           DRUMMOND, MT 59832-0384          PEORIA, AZ 85382-5361



DAYMON WORLDWIDE INC             DE LAGE LANDEN FINANCIAL SVCS    DELL BUSINESS CREDIT
700 FAIRFIELD AVE                P.O. BOX 41601                   PAYMENT PROCESSING CENTER
STAMFORD CT 06902                PHILADELPHIA, PA 19101-1601      PO BOX 5275
                                                                  CAROL STREAM, IL 60197-5275


DELTA WESTERN                    DELTACOM                         DEPASQUALE & SCHMIDT, PLC
P.O. BOX 878                     PO BOX 740597                    3300 NORTH CENTRAL AVE.
INDIANOLA, MS 38751-0878         ATLANTA, GA 30374-0597           SUITE 2070
                                                                  PHOENIX, AZ 85012-2531


DEVINE INTERMODAL                DILLION DISPOSAL SERVICE         DIVISION OF REGULATORY SERVICE
P.O. BOX 980160                  BOX 1334                         UNIVERSITY OF KENTUCKY
WEST SACRAMENTO, CA 95798-0160   DILLON, MT 59725-1334            103 REGULATORY SERVICE BLD.
                                                                  LEXINGTON, KY 40546-0001
DO NOT USE! USE YRC01              DOCUMENT TECHOLOGIES, INC.     DRUM DRYING RESOURCES, LLC
P.O. BOX 100129                    TWO RAVINIA DRIVE              328 E. MAPLE
PASADENA, CA 91189-0003            SUITE 850                      FREMONT, MI 49412-1615
                                   ATLANTA, GA 30346-2126


David Rosenbaum, Esq.              Daymon Worldwide               Dell Financial Services L.L.C.
Maureen Beyers, Esq.               POC #14, Amt. $6,063.56        c/o Resurgent Capital Services
Osborn Maledon, P.A.               700 Fairfield Avenue           PO Box 10390
2929 N. Central Ave., Suite 2100   Stamford, CT 06902-7532        Greenville, SC 29603-0390
Phoenix, AZ 85012-2793

ECHO GLOBAL LOGISTICS, INC         ECOLAB                         EDGAR FILINGS, LTD
ACCOUNTS RECEIVABLE                PEST ELIMINATION DIVISION      3900 ESSEX LN
22168 NETWORK PLACE                PO BOX 6007                    SUITE 900
CHICAGO, IL 60673-1221             GRAND FORKS, ND 58206-6007     HOUSTON, TX 77027-5195


ELISEU BATISTA                     EMPLOYEE BENEFIT RESOURCES     EMPLOYMENT DEVELOPMENT DEPT.
3409 SHERWOOD LANE                 P.O. BOX 1193                  P.O. BOX 826846
HIGHLAND VILLAGE                   HELENA, MT 59624-1193          SACRAMENTO, CA 94246-0001
LEWISVILLE, TX 75077-1889


ENERGY WEST RESOURCES              ENTERGY GULF STATES INC.       EQUINE SCIENCE SOCIETY
PO BOX 1526                        417 PRIDE DRIVE                1111 NORTH DUNLAP AVENUE
GREAT FALLS, MT 59403-1526         HAMMOND, LA 70401-9517         SAVOY, IL 61874-9604



ERNST & YOUNG                      EWI WORLDWIDE INC              FARMERS RICE COOPERATIVE
DEPT. 6793                         LOCKBOX #232315                1760 CREEKSIDE OAKS DR
LOS ANGELES, CA 90084-0001         2315 MOMENTUM PLACE            SUITE 200
                                   CHICAGO, IL 60689-0001         SACRAMENTO, CA 95833-2929


FARMERS RICE MILLING CO., INC      FASTENAL                       FED EX NATIONAL LTL
P.O. BOX 98509                     PO BOX 978                     CORPORATE HEADQUARTERS
BATON ROUGE, LA 70884-9509         WINONA, MN 55987-0978          P.O. BOX 95001
                                                                  LAKELAND, FL 33804-5001


FEDEX                              FEDEX FREIGHT                  FEDEX FREIGHT INC
P.O. BOX 7221                      4103 COLLECTION CENTER DRIVE   PO BOX 840
PASADENA, CA 91109-7321            CHICAGO, IL 60693-0041         HARRISON, AR 72602-0840



FEDEX FREIGHT WEST - 86535013      FEDEX KINKO’S                  FEDEX OFFICE
DEPT CH                            CUSTOMER ADMINISTRATIVE SVS.   P.O. BOX 262682
P.O. BOX 10306                     PO BOX 672085                  PLANO, TX 75026-2682
PALATINE, IL 60055-0306            DALLAS, TX 75267-2085


FEED THE CHILDREN                  FENNEMORE CRAIG, P.C.          FILTER FRESH COFFEE SERVICES
WORK PLACE CAMPAIGN MANAGER        3003 N. CENTRAL AVENUE         3602 E. SOUTHERN AVE. #6
P.O. BOX 36                        SUITE 2600                     PHOENIX, AZ 85040-3954
OKLAHOMA CITY, OK 73101-0036       PHOENIX, AZ 85012-2930
FISHER SCIENTIFIC                        FOLEY & LARDNER, LLP             FORTIS LANDCARE
ACCT# 011684-001                         35TH FLOOR, ONE CENTURY PLAZA    6682 S DATELAND DRIVE
13551 COLLECTIONS CTR DR                 2029 CENTURY PARK EAST           TEMPE, AZ 85283-3600
CHICAGO, IL 60693-0135                   LOS ANGELES, CA 90067-2901


FOSTER PRINTING SERVICE, INC.            FOX ALARM MONITORING             FULTON PACIFIC COMPANY
PO BOX 2089                              P.O. BOX 840                     1060 PIPER DRIVE
MICHIGAN CITY, IN 46361-8089             ENNIS, MT 59729-0840             VACAVILLE, CA 95688-8709



FUTURE CEUTICALS, INC.                   GARDEN STATE NUTRITIONALS LLC    GAUTHIERS
300 W. 6TH STREET                        8 HENDERSON DRIVE                PO BOX 62071
MOMENCE, IL 60954-1136                   WEST CALDWELL, NJ 07006-6608     LAFAYETTE, LA 70596-2071



GE CAPITAL                               GEEKS-ON-THE-GO, INC             GLENN RASMUSSEN FOGARTY
PO BOX 31001-0275                        9221 E BASELINE, RD              & HOOKER, P.A.
PASADENA, CA 91110-0001                  MESA, AZ 85209-8310              PO BOX 3333
                                                                          TAMPA, FL 33601-3333


GLENN RASMUSSEN FOGARTY & HOOKER, P.A.   GOLD RIVER WATER COMPANY         GRAIN MILLERS, INC.
ATT: GREGORY M. MCCOSKEY                 2222 FRANCISCO DRIVE             MS 72
100 SOUTH ASHLEY DR., #1300              #510-141                         PO BOX 4100
TAMPA, FL 33602-5309                     EL DORADO HILLS, CA 95762-3762   PORTLAND, OR 97208-4100


GRAINGER EQUIPMENT                       GREAT VALLEY INDUSTRIES          GUARANTY EXTERMINATING CO. INC
DEPT. 818865370                          P.O. BOX 276191                  2552 HIGHWAY 190
P.O. BOX 419267                          SACRAMENTO, CA 95827-6191        WEST
KANSAS CITY, MO 64141-6267                                                EUNICE, LA 70535


General Electric Capital Corp            H-BAR-N, INC.                    HADASIT MEDICAL AND RESEARCH
1010 Thomas Edison Blvd SW               P.O. BOX 1020                    SVC. & DEVELOPMENT LTD.
Cedar Rapids, IA 52404-8247              FRENCHTOWN, MT 59834-1020        P.O. BOX 12000
                                                                          JERUSELUM ISRAEL 91120


HALPERN CAPITAL                          HELENA INDUSTRIES, INC.          HENDERIKUS HOOGENKEMP
20900 NE 30TH AVENUE                     1325 HELENA AVENUE               GROTE LEOF 36
AVENTURA, FL 33180-2100                  HELENA, MT 59601-2989            6581 JG MALDEN
                                                                          NETHERLANDS


HERBALSCIENCE SINGAPORE PTE LTD          HILTON ELECTRIC, INC.            HOGAN & HARTSON L.L.P
1SCIENCE PARKRD.#01-07 THE CAPRICOR      325 LAGOON LANE                  COLUMBIA SQUARE
SINGAPORE SCIENCE PARK II                DILLON, MT 59725-7216            555 THIRTEEN STREET, NW
SINGAPORE                                                                 WASHINGTON, DC 20004-1109


HOLIDAY INN HOTEL & RESORTS              HORST FRANKE CONSULTING          HORUS BRAILFORD, INC.
603 HOLIDAY DRIVE                        7 WHITTIER LANE                  BOZEMAN PORTABLE STORAGE
JENNINGS, LA 70546-3022                  OAKLAND, NJ 07436-3313           135 HIDEAWAY DRIVE
                                                                          BOZEMAN, MT 59718-8115
HP SCHMID LLC / ORGANIC PLANET           HRPLUS                                 HUGHESNET
231 SANSOME STREET, SUITE 300            LOCKBOX # 773465                       P O BOX 96874
SAN FRANCISCO, CA 94104-2322             3465 SOLUTION CENTER                   CHICAGO, IL 60693-0001
                                         CHICAGO, IL 60677-0001


I.E.L. CONSULTING, LLC                   IDG Purchasing                         IKE LYNCH
IKE LYNCH                                Attn: Jennifer Reynolds                1901CONANT AVENUE
1901 CONANT AVENUE                       5013 E. Washington Street, Suite 270   BURLEY, ID 83318-2332
BURLEY, ID 83318-2332                    Phoenix, AZ 85034-2017


INGREDIENT TECHNOLOGIES, INC             INSTITUTE OF MANAGEMENT                INTERBROKERS INTERNATIONAL
17705 45TH AVE NORTH                     ACCOUNTANTS, INC.                      38016 BRANT RD
MINNEAPOLIS, MN 55446-2060               P.O. BOX 48002                         HANSVILLE, WA 98340-9732
                                         NEWARK, NJ 07101-4802


INTERCALL                                INTERMOUNTAIN GAS COMPANY              INTERMOUNTAIN IRRIGATION, INC
PO BOX 281866                            PO BOX 64                              P.O. BOX 1327
ATLANTA, GA 30384-1866                   BOISE, ID 83732-0064                   DILLON, MT 59725-1327



INTERNAL REVENUE SERVICE CENT. INS.OPS   INTRADE INDUSTRIES, INC.               IRON MOUNTAIN
PO BOX 21126                             P.O. BOX 839                           P.O. BOX 601018
PHILADELPHIA, PA 19114-0326              CLOVIS, CA 93613-0839                  LOS ANGELES, CA 90060-1018



Ideation Design Group                    J.B. HUNT TRANSPORT, INC.              JAMES C. LINTZENICH
Attn: Jennifer Reynolds                  FILE 98545                             15179 BROLIO WAY
5013 E. Washington Street Suite 270      P.O. BOX 847977                        NAPLES, FL 34110-2719
Phoenix, AZ 85034-2017                   DALLAS, TX 75284-7977


JAMES R. WAKEFIELD, ESQ.                 JENNIFER HOLLENBERG                    JUST SHIP IT
CHARLES P. MURAWSKI, ESQ.                AENTA - U235                           P.O. BOX 1678
CUMMINS & WHITE, LLP                     1425 UNION MEETING ROAD                FAIR OAKS, CA 95628-1678
2424 S.E. BRISTOL STREET, SUITE 300      BLUE BELL, PA 19422-1919
NEWPORT BEACH, CA 92660-0764

James Cross, Esq.                        K DIAMOND M SUPPLY INC                 K&K ENTERPRISE, INC
Brenda Martin, Esq.                      C/O HORIZON CREDIT UNION               DBA K&K WATER
Osborn Maledon, P.A.                     9861 N NEVADA STREET                   P.O. BOX 954
2929 N. Central Ave., Suite 2100         SPOKANE, WA 99218-3407                 JENNINGS, LA 70546-0954
Phoenix, AZ 85012-2793

KAMP PROPANE INC.                        KICE INDUSTRIES, INC.                  KING’S DEPARTMENT STORE
7549 REESE ROAD                          5500 MILL HEIGHTS DRIVE                150 E BANNACK STREET
SACRAMENTO, CA 95828                     WICHITA, KS 67219-2358                 DILLON, MT 59725-2502



KNOX APPRAISAL SERVICE                   KUEHNE & NAGEL INC.                    KUEHNE & NAGEL, INC
305 S. ARIZONA STREET                    P.O. BOX 894252                        5800 HURONTARIO STREET FL 12 C.LOPEZ
DILLON, MT 59725-3001                    LOS ANGELES, CA 90189-4252             MISSISSAUGA, ONTARIO L5R 4B6
                                                                                CANADA
LEGACY PROPANE                   LIBERTY FIRE AND SECURITY SOLU   LINCOLN FINANCIAL GROUP
8552 N. DYSART ROAD              PO BOX 83718                     P.O. BOX 0821
EL MIRAGE, AZ 85335-9729         PHOENIX, AZ 85071-3718           CAROL STREAM, IL 60132-0001



LOGIC PAKAGING INC.              LOUISIANA DEPT. OF REVENUE       LOUISIANA RICE MILL
3530-B LAKE CENTER DRIVE         DEPT. OF REVENUE & TAXATION      102 SOUTH 13TH STREET
SANTA ANA, CA 92704-6990         PO BOX 201                       MERMENTAU, LA 70556
                                 BATON ROUGE, LA 70821-0201


MANSFIELD WAREHOUSING &          MCDERMOTT WILL & EMERY LLP       MCDERMOTT, WILL & EMERY
DISTRIBUTION                     c/o DAVID O’BRIEN                600 13TH STREET, N.W.
245 E. FOURTH STREET             227 WEST MONROE STREET #4400     WASHINGTON, DC 20005-3096
MANSFIELD, OH 44902-1519         CHICAGO, IL 60606-5058


MCMASTER - CARR SUPPLY CO.       MCMASTER-CARR SUPPLY CO. - MT    MEDALLION LABS
PO BOX 4355                      P.O. BOX 7690                    9000 PLYMOUTH AVENUE NORTH
CHICAGO, IL 60680-4355           CHICAGO, IL 60680-7690           MINNEAPOLIS, MN 55427-3870



MELISSA KLINE                    METAL CRAFT WAREHOUSE            METLIFE SMALL BUSINESS CENTER
GRAPHIC DESIGNER                 1806 ENTERPRISE BLVD             P.O. BOX 804466
4943 E. WINDROSE DR              WEST SACRAMENTO, CA 95691-3424   KANSAS CITY, MO 64180-4466
SCOTTSDALE, AZ 85254-4177


MISSISSIPPI LIME                 MISSOURI DEPT OF AGRICULTURE     MJN SERVICES, INC.
P.O. BOX 840033                  PO BOX 630                       534 EAST 800 NORTH
KANSAS CITY, MO 64184-0033       ATTN: LECENSE PLANT INDUSTRIES   OREM, UT 84097-4146
                                 JEFFERSON CITY, MO 65102-0630


MOMENTUM THREE, INC.             MONTANA BROOM & BRUSH            MONTANA ELECTRIC MOTORS, INC
411 CRICKET COURT                1245 HARRISON                    300 HOLMES
GREEN BAY, WI 54302-5106         BUTTE, MT 59701-4866             BUTTE, MT 59701-7740



MONTANA ENERGY ALLIANCE, L.L.C   MONTANA STATE FUND               MOTION INDUSTRIES, INC. - LA
P.O. BOX 629                     5 SOUTH LAST CHANCE GULCH        PO BOX 849737
DILLON, MT 59725-0629            P.O. BOX 4759                    DALLAS, TX 75284-9737
                                 HELENA, MT 59604-4759


MOTION INDUSTRIES, INC. -CA      MSS TECHNOLOGIES, INC            MY VAC, LLC
FILE 57463                       3202 E HARBOUR DR                P O BOX 729
LOS ANGELES, CA 90074-7463       SUITE ONE                        JENNINGS, LA 70546-0729
                                 PHOENIX, AZ 85034-8229


NAPA                             NASCO MODESTO                    NASCO WEST
DILLION AUTO PARTS INC.          4825 STODDARD ROAD               CREDITORS ADJUSTMENT BUREAU INC.,
16 SOUTH IDAHO                   P.O. BOX 3837                    ASSIGNEE OF NASCO WEST
DILLON, MT 59725-2510            MODESTO, CA 95352-3837           P.O. BOX 5932
                                                                  SHERMAN OAKS, CA 91413-5932
NATIONAL FOOD LAB, INC.          NATIONAL WELDING SUPPLY CO.INC           NAVIGANT CONSULTING, INC.
DEPT. #44688                     PO BOX 9786                              30 S. WACKER DRIVE
PO BOX 44000                     NEW IBERIA, LA 70562-9786                SUITE 3100
SAN FRANCISCO, CA 94144-0001                                              CHICAGO, IL 60606-7444


NETWORK DELIVERY SYS., INC.      NEXTEL COMMUNICATIONS                    NOLIN MILLING, INC.
909 N. MARKET BLVD.              P.O. BOX 549977                          101 PINE STREET
WEST SACRAMENTO, CA 95834-1204   LOS ANGELES, CA 90054-0977               P.O. BOX 156
                                                                          DICKENS, IA 51333-0156


NORCAL CONTROLS, INC.            NORRIS, MCLAUGLIN & MARCUS               NORTHERN SAFETY CO.
1952 CONCOURSE DRIVE             PROFESSIONAL CORPORATION COUNS           P.O. BOX 4250
SAN JOSE, CA 95131-1719          721 ROUTE 202-206                        UTICA, NY 13504-4250
                                 SOMERVILLE, NJ 08876-1018


National Food Laboratory         Navigant Consulting, Inc.                Nutracea, a California corporation
Scheduled F Amt. $6,961.50       Attention: Ernest Dixon                  6720 N. Scottsdale Road, #390
Dept. #44688                     201 East Washington Street, Suite 1700   Scottsdale, Arizona 85253-4421
PO Box 44000                     Phoenix, AZ 85004-2245
San Francisco, CA 94144-0001

O’BRIEN EMPLOYMENT SERVICE       OH, OH ORGANIC                           OLD DOMINION FREIGHT LINE INC.
5301 MADISON AVE., SUITE 201     P.O. BOX 472                             500 OLD DOMINION WAY
SACRAMENTO, CA 95841-3146        LOS GATOS, CA 95031-0472                 THOMASVILLE, NC 27360-8923



OLD DOMINION FREIGHT LINE INC.   OSBORN MALEDON, P.A.                     P & A GROUP
FILE 030989 PO BOX 60000         IOLTA ACCOUNT                            17 COURT STREET, SUITE 500
SAN FRANCISCO, CA 94160-0001     2929 N. CENTRAL AVE.                     BUFFALO, NY 14202-3204
                                 PHOENIX, AZ 85012-2727


PACIFIC OFFICE AUTOMATION        PACIFIC OFFICE AUTOMATION, INC           PACIFIC OFFICE AUTOMATION, INC
PO BOX 41602                     14747 NW GREENBRIER PKWY                 P.O. BOX 31001-2071
PHILADELPHIA, PA 19101-1602      BEAVERTON, OR 97006-5601                 PASADENA, CA 91110-0001



PAPE MATERIAL HANDLING INC.      PAPE’ MATERIAL HANDLING                  PAT’S ELECTRICAL SERVICES
FINANCE DEPARTMENT               P.O. BOX 5077                            109 S. POLK STREET
2430 GRAND AVE                   PORTLAND, OR 97208-5077                  WELSH, LA 70591-4233
SACEAMENTO, CA 95838-4000


PG&E                             PGP INTERNATIONAL                        PHD TECHNOLOGIES, LLC
ATTENTION: LOCAL OFFICE          FILE 30707                               3234 BAYBERRY ROAD
151 N. SUNRISE, #513             PO BOX 60000                             AMES, IA 50014-4597
ROSEVILLE, CA 95661-2925         SAN FRANCISCO, CA 94160-0001


PINK OTC MARKETS                 PITNEY BOWES INC.                        PREMIER EXECUTIVE SEARCH
304 HUDSON ST                    P.O. BOX 856042                          WILLIAM E. BEHRING
NEW YORK, NY 10013-1015          LOUISVILLE, KY 40285-6042                1778 MARSH RUN
                                                                          NAPLES, FL 34109-0345
PROMARKET OY                                  PROMERA HEALTH LLC                  QQUEST SOFTWARE SYSTEM
YLATUHDONKUJA 1 F 21                          C/O DAN ONISHUK                     ATTN: JULIE STODDARD
40520 JYVASKYLA                               61 ACORD PARK DRIVE                 9350 SOUTH 150 EAST, SUITE 300
FINLAND                                       NORWELL, MA 02061-1614              SANDY, UT 84070-2707


QUALITY SUPPLY OF DILLON                      QUEST COMMUNICATIONS COMPANY, LLC   QWEST
PO BOX 1377                                   ATTN: JANE FREY                     BUSINESS SERVICES
DILLON, MT 59725-1377                         1801 CALIFORNIA ST RM 900           PO BOX 856169
                                              DENVER, CO 80202-2609               LOUISVILLE, KY 40285-6169


QWEST                                         R AND R IMAGE, INC                  R&R PRINTING
PO BOX 29039                                  3602 E LA SALLE STREET              2224 E JONES AVE
PHOENIX, AZ 85038-9039                        PHOENIX, AZ 85040-3992              PHOENIX, AZ 85040-1467



RAPAT CORPORATION                             RICE RX                             RICE SCIENCE
919 O’ DONNELL STREET                         5090 N. 40TH STREET                 5090 NORTH 40TH ST
HAWLEY, MN 56549-4313                         PHOENIX, AZ 85018-2111              SUITE #400
                                                                                  PHOENIX, AZ 85018-2199


RICELAND FOODS, INC.                          RICHMARK LABEL                      RONALD J. WILCZYNSKI
C/O BANK OF AMERICA, N.A.                     1110 EAST PINE STREET               DISCRETEINQUIRY.COM
LOCK BOX DEPARTMENT                           SEATTLE, WA 98122-3987              P.O. BOX 2035
SAINT LOUIS, MO 63150-0001                                                        PLACERVILLE, CA 95667-2035


RYAN COTTOM                                   RYDER TRANSPORTATION SERVICES       Rapat Corporation
31 EAST CLARK STREET                          LOCKBOX FILE 56347                  POC #19 Amt. $6,904.40
DILLON, MT 59725-3500                         LOS ANGELES, CA 90074-6347          919 O’Donnell Street
                                                                                  Hawley, MN 56549-4310


Recana Solutions LLC a/k/a Recana Financial   SACKS TIERNEY                       SACRAMENTO BAG MFG. CO.
Carrie Johnson Phaneuf                        4250 DRINKWATER BLVD                440 N. PIONEER AVE.
Cobb Martinez Woodward PLLC                   FOURTH FLOOR                        P.O. BOX 1788
1700 Pacific Ave., Suite 1700                 SCOTTSDALE, AZ 85251-3981           WOODLAND, CA 95776-1788
Dallas, Texas 75201-4614

SACRAMENTO SOUTHPORT LLC                      SAFEWAY                             SAFEWAY
2928 RAMCO STREET                             4757 COLLECTION CENTER DRIVE        FILE NO. 73002
WEST SACRAMENTO, CA 95691-6406                CHICAGO, IL 60693-0047              SAN FRANCISCO, CA 94160-0001



SANTA FE CENTER ASSOC.                        SARAH LUKE, PARTNER                 SCHNEIDER NATIONAL INC.
C/O ROSS BROWN PARTNERS, INC                  LUKE COMMUNICATIONS GROUP           2567 PAYSHERE CIRCLE
2600 N 44TH ST #21                            335 CARPENTER HILL ROAD             CHICAGO, IL 60674-0025
PHOENIX, AZ 85008-1521                        PINE PLAINS, NY 12567-4709


SCHNEIDER NATIONAL INC.                       SEATAC PACKING MFG. CORP            SECURITIES & EXCHANGE COMMISSION
3101 S. PACKERLAND DR                         901 N. LEVEE ROAD                   100 F STREET NE
GREEN BAY, WI 54313-6187                      PUYALLUP, WA 98371-3220             ATTN: CHIEF COUNSEL’S OFFICE
                                                                                  WASHINGTON, DC 20549-2001
SIDLEY AUSTIN LLP              SILLIKER, INC.                    SKIDMORE SALES & DISTRIBUTION
PO BOX 0642                    3155 PAYSPHERE CIRCLE             9889 CINCINNATI-DAYTON ROAD
CHICAGO, IL 60690-0642         CHICAGO, IL 60674-0031            WEST CHESTER, OH 45069-3825



SLEEP INN AND SUITES           SMI MANUFACTURING, LL             SONITROL, INC.
3211 VENTURE PARK DR           2401 W. 1ST STREET                ATTN: KEVIN HAINES
LAKE CHARLES, LA 70615-5443    TEMPE, AZ 85281-2329              1334 BLUE OAKS BLVD.
                                                                 ROSEVILLE, CA 95678-7014


SOUTHERN STATES COOPERATIVE    SOUTHLAND TRANSPORT SERVICE       SOUTHWEST GAS CORPORATION
P.O. BOX 932457                1085 HWY 165 NORTH                PO BOX 52075
ATLANTA, GA 31193-2457         STUTTGART, AR 72160-3556          PHOENIX, AZ 85072-2075



SPIRAL BIOTECH                 SRP                               STAINBROOK & STAINBROOK
P.O. BOX 845016                PO BOX 2950                       412 AVIATION BLVD., STE H
BOSTON, MA 02284-5016          PHOENIX, AZ 85062-2950            SANTA ROSA, CA 95403-1089



STAPLES BUSINESS ADVANTAGE     STERICYCLE, INC                   STRATIFY
DEPT LA 1368                   PO BOX 9001589                    DEPT. CH 17564
PO BOX 83689                   LOUISVILLE, KY 40290-1589         PALATINE, IL 60055-0001
CHICAGO, IL 60696-0001


SUPERIOR BOLIER, INC.          SUPERIOR PRINTING, INC.           SUPERVALU
7664 W. 6000 NORTH             DBA SUPERIOR PRESS                PO BOX 958844
REXBURG, ID 83440-3007         11930 HAMDEN PLACE                SAINT LOUIS, MO 63195-8844
                               SANTA FE SPRINGS, CA 90670-3216


SUPERVALU INC                  SUPPLY HARDWARE                   Sprint Nextel Correspondence
KIMBERLY MYRDAHL               7115 WATT AVE. SUITE 100          Attn Bankruptcy Dept
11840 VALLEY VIEW RD           NORTH HIGHLANDS, CA 95660-3213    PO Box 7949
EDEN PRAIRIE, MN 55344-3643                                      Overland Park KS 66207-0949


Sprint Nextel Distribution     TAYLOR PRODUCTS CO., INC.         TERIS
Attn: Bankruptcy Dept          2205 JOTHI AVENUE                 2601 N. 3RD STREET, SUITE 101
P.O. Box 3326                  PARSONS, KS 67357-8477            PHOENIX, AZ 85004-1142
Englewood, CO 80155-3326


THE ISLAMIC FOOD AND           THE RAMSEY COMPANIES              THE RITZ CARLTON
NUTRITION COUNCIL OF AMERICA   6805 N. 55TH AVE.                 2401 E. CAMELBACK RD.
777 BUSSE HWY                  GLENDALE, AZ 85301-3303           PHOENIX, AZ 85016-4201
PARK RIDGE, IL 60068-2470


THE WRIGHT GROUP               THINK, INC.                       TLC LABEL COMPANY
6428 AIRPORT RD                4944 WINDPLAY DRIVE, STE 335      2420 N. NEVADA STREET
P.O. BOX 821                   EL DORADO HILLS, CA 95762-9310    CHANDLER, AZ 85225-0996
CROWLEY, LA 70527-0821
TOM M. CANEFF                          TOTAL TRANSPORTATION SERVICES        TOWNSEND & TOWNSEND & CREW
THOMSON WEST                           P.O. BOX 678500                      2 EMBARCADERO CENTER, 8TH FLR
610 OPPERMAN DR D6-11-3710             DALLAS, TX 75267-8500                SAN FRANCISCO, CA 94111-3819
EAGAN, MN 55123-1340


TRANSACT COMMERCIAL FURNISHING         TRANSPLACE STUTTGART, LP             TRAVELERS
45 W JEFFERSON                         P.O. BOX 90407                       CL & SPECIALTY REMITTANCE
3RD FLOOR                              CHICAGO, IL 60696-0407               CENTER
PHOENIX, AZ 85003-2326                                                      HARTFORD, CT 06183-1008


TREA, INC                              TREASURER, STATE OF MAINE            TRICO WELDING SUPPLIES, INC.
4216 S 36TH PLACE                      28 STATE HOUSE STATION               P.O. BOX 2177
PHOENIX, AZ 85040-1810                 AUGUSTA, ME 04333-0028               WOODLAND, CA 95776-2177



TRILOGY ANANLYTICAL LABORATORY         U.S. TRUSTEE                         UNITED PACIFIC PET
870 VOSSBRINK DRIVE                    OFFICE OF THE U.S. TRUSTEE           12060 CABERNET DRIVE
WASHINGTON, MO 63090-1067              230 NORTH FIRST AVENUE               FONTANA, CA 92337-7704
                                       SUITE 204
                                       PHOENIX, AZ 85003-1725

UNITED PARCEL SERVICE (Freight)        UPS                                  UPS FREIGHT
c/o RMS Bankruptcy Recovery Services   PO BOX 894820                        28013 NETWORK PLACE
P.O. Box 4396                          LOS ANGELES, CA 90189-4820           CHICAGO, IL 60673-1280
Timonium, Maryland 21094-4396


USA RICE MILLERS ASSOCIATION           USDA, F&V PGROGRAM, PROC. PROD       USDA, GIPSA
4301 NORTH FAIRFAX DRIVE               P.O. BOX 790303                      P.O. BOX 790335
SUITE 425                              ST. LOUIS, MO 63179-0303             ST. LOUIS, MO 63179-0335
ARLINGTON, VA 22203-1653


USF REDDAWAY                           USF REDDAWAY, INC.                   V&0 MACHINE, INC.
26401 NETWORK PLACE                    c/o FRANTZ WARD LLP                  17591 COUNTY ROAD 97
CHICAGO, IL 60673-1264                 ATTN:JOHN F. KOSTEINIK, ESQ.         WOODLAND, CA 95695-8921
                                       2500 KEY CENTER, 127 PUBLIC SQUARE
                                       CLEVELAND, OH 44114

VACO PHOENIX, LLC                      VALLEY WELDERS SUPPLY, INC           VENABLE, LLP
5410 MARYLAND WAY                      PO BOX 30118                         P.O. BOX 630798
SUITE 460                              BILLINGS, MT 59107-0118              BALTIMORE, MD 21263-0798
BRENTWOOD, TN 37027-5064


VERIZON WIRELESS - 770297956           VIGILANTE ELECTRIC COOP., INC        VILLAGE OF MERMENTAU
P.O. BOX 9622                          PO BOX 1049                          104 7TH STREET
MISSION HILLS, CA 91346-9622           DILLON, MT 59725-1049                PO BOX 280
                                                                            MERMENTAU, LA 70556-0280


VITA PLUS CORPORATION                  VITA-TECH INTERNATIONAL              VOGEL SALES ENGINEERING, INC.
319 N. DICKASON BLVD                   2832 DOW AVENUE                      9521 FOLSOM BLVD., UNIT K-L
PO BOX 232                             TUSTIN, CA 92780-7212                SACRAMENTO, CA 95827-1203
COLUMBUS, WI 53925-0232
VWR INTERNATIONAL                    W.W. GRAINGER, INC.             WALGREEN COMPANY
P.O. BOX 640169                      7300 N. MELVINA AVE M240        PO BOX 90484
PITTSBURGH, PA 15264-0169            NILES, IL 60714-3998            CHICAGO, IL 60696-0484



WASTE MANAGEMENT                     WASTE MANAGEMENT-LAKE CHARLES   WATT PUBLISHING COMPANY
RMC                                  OF LAKE CHARLES                 P.O. BOX 17126
2625 W GRANDVIEW RD                  PO BOX 9001054                  ROCKFORD, IL 61110-7126
STE 150                              LOUISVILLE, KY 40290-1054
PHOENIX AZ 85023-3113

WAYNE A. MELANCON                    WEBER SCIENTIFIC                WEINTRAUB GENSHLEA CHEDIAK
SHERIFF & EX-OFFICO                  2732 KUSER ROAD                 LAW CORPORATION
TAX COLLECTOR                        HAMILTON, NJ 08691-1806         400 CAPITOL MALL, 11TH FLOOR
CROWLEY, LA 70527                                                    SACRAMENTO, CA 95814-4434


WELLINGTON FOODS                     WELLINGTON FOODS, INC.          WEPACKITALL
3250 E. 29TH STREET                  CUMMINS & WHITE, LLP            2745 E HUNTINGTON DRIVE
LONG BEACH, CA 90806-2321            ATTN: CHARLES P. MURAWAKI       DUARTE, CA 91010-2302
                                     2424 S.E. BRISTOL ST, #300
                                     NEWPORT BEACH, CA 92660-0764

WEST ELECTRIC, INC                   WESTCOAST ROTOR                 WILLIAM CADIGAN
1310 HWY 91 NORTH                    119 WEST 154TH ST               1012 LAURELDALE DRIVE
DILLON, MT 59725                     GARDENA, CA 90248-2201          LITITZ, PA 17543-6615



WILLIS INSURANCE SERVICE OF CA       WILLSTAFF WORLDWIDE             WIST OFFICE PRODUCE CO
7250 REDWOOD BLVD., SUITE 300        PO BOX 277534                   PO BOX 24118
NOVATO, CA 94945-3269                ATLANTA, GA 30384-7534          TEMPE, AZ 85285-4118



WOLCOTT FARMS, INC.                  WORDEN THANE P.C.               WRIGHT GROUP
BY WINTON WOLCOTT                    ATTORNEY AT LAW                 6428 AIRPORT RD.
PO BOX 12                            111 NORTH HIGGINS, SUITE 600    CROWLEY, LA 70526-1604
WILLOWS, CA 95988-0012               MISSOULA, MT 59802-4494


WYOMING DEPT OF AGRICULTURE          YELLOW TRANSPORTATION, INC.     YOLO COUNTY AGRICULTURE DEPT.
2219 CAREY AVENUE                    P.O. BOX 100299                 70 COTTONWOOD STREET
CHEYENNE, WY 82002-0001              PASADENA, CA 91189-0003         WOODLAND, CA 95695-2593



YRC INC. fka ROADWAY EXPRESS, INC.   (p)YRC LOGISTICS                YRC, Logistics
c/o FRANTZ WARD LLP                  10990 ROE AVE MS E203           c/o RMS Bankruptcy Recovery Services
ATTN: JOHN F. KOSTENIK, ESQ.         OVERLAND PARK KS 66211-1213     P.O. Box 5126
2500 KEY CENTER,127 PUBLIC SQUARE                                    Timonium, Maryland 21094-5126
CLEVELAND, OH 44114

Bradley Edson                        JAMES E. CROSS                  S. CARY FORRESTER
c/o Gerald Shelley                   OSBORN MALEDON P.A.             FORRESTER & WORTH, PLLC
Fennemore Craig, P.C.                2929 N. CENTRAL AVE. #2100      3636 NORTH CENTRAL AVENUE
3003 N. Central Avenue, Suite 2600   PHOENIX, AZ 85012-2793          SUITE 700
Phoenix, AZ 85012-2930                                               PHOENIX, AZ 85012-1936
                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


YRC LOGISTICS
21819 NETWORK PLACE
CHICAGO, IL 60673




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)AZELIS-ITALIA                                       (d)BACTOLAC PHARMACEUTICAL, INC.                     (d)DEBT ACQUISITION COMPANY OF AMERICA V, LLC
GIULIO GROSS VIA LEONARDO DA VINCI                     7 OSER AVE                                           1565 HOTEL CIRCLE SOUTH, SUITE 310
43 TREZZANA                                            HAUPPAGE, NY 11788-3811                              SAN DIEGO, CA 92108-3419
SUL NAVIGLIO MILANO


(u)FARMERS RICE MILLING                                (d)Fair Harbor Capital, LLC                          (u)GIULIOS GROSS
555 SOUTH FLOWER STREET,                               Ansonia Finance Station                              VIA L DA VINCI , 43
SUITE                                                  PO Box 237037                                        20090 TREZZANO S.N (M)
                                                       New York, NY 10023-0028


(u)HENK HOOGENKAMP                                     (u)HOORS TRYCKERI                                    (u)IRGOVEL IND. RIOGRANDENSE DE
GROTE LOEF 36                                          BOX 132                                              AV PRESIDENTE JOAO GOULART7351
MALDEN 6581-J                                          HORBY 24222                                          RIO GRANDE DO SUL, BR 96000



(u)KPMG CORPORATE FINANCE LTDA                         (u)KREGSPEDI                                         (u)LEANNE KNIGHT
CAIXA POSTAL 2467                                      GROTE MARKT 7                                        FOGDARP LILLGARDEN 412
SAO PAULO 00106-0970                                   2000 ANTWERP                                         HORBY, SW 24 00093-0000



(u)LEYSAM                                              (u)MAPLES                                            (u)MEDCHEM, VICTUS INTERNATIONAL PTY
KM. 18 WEST SERVICE ROAD                               P.O. BOX 309                                         16-18 LENTINI STREET
SOUTH SUPER HIGHWAY                                    UGLAND HOUSE                                         HOPPERS CROSSING, Vic 3029
PARANAQUE CITY, SUCAT                                  GRAND CAYMAN, KY1-1104


(u)UNIVERSITY OF LEICESTER                             (d)WELLS FARGO BANK, N.A.                            End of Label Matrix
FINANCE SECTION                                        C/O GALLAGHER & KENNEDY, PA                          Mailable recipients   389
UNIVERSITY RD.                                         ATTN: JOHN R. CLEMENCY                               Bypassed recipients    17
LEICESTER, LE1 7RH                                     2575 E. CAMELBACK RD, STE 1100                       Total                 406
                                                       PHOENIX AZ 85016-9254
